
257 P.3d 1113 (2011)
172 Wn.2d 1003
STATE of Washington, Respondent,
v.
Karla Gae PEARSALL, Petitioner.
No. 84734-7.
Supreme Court of Washington.
August 9, 2011.

ORDER
¶ 1 A Special Department of the Court, composed of Chief Justice Madsen and Jutices Alexander, Fairhurst, Stephens, and Wiggins, considered at its August 9, 2011, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the case is remanded to the Court of Appeals Division Two for reconsideration in light of State of Washington v. Michael Wayne Robinson, 171 Wash.2d 292, 253 P.3d 84 (2011).
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
